QaSe 2:05-Cv-02399-.]PI\/|-tmp Document 2 Filed 08/03/05 Page 1 of 3

Page|D 1

HECEl\/ED

95 AUG ~2 nn 10= rt
IN THE UNITEI) STATES DISTRICT COURT
FoR THE WESTERN DISTRICT 0F TENNESSEE CLFHQ+O¢MS a gm
WESTERN DIvIsloN `W,D %§T%S§§WT
f " ' "'l{: .’lt;
TANYA BISHOP,
Plaintiff,

V.

CIVIL ACTION NO. 2:05-CV-23 99 JPl\/I
NYK LOGISTICS (AMERICAS)

 

 

3 2
INC., §§ § %
C._
§§ \ §
Defendant. r_ ing __, 09
`L;§”;"' ::- ‘
- == \
_ m .G_
N

PLAINTIFF’S STIPULA TION OF DISMISSAL` WITH PREJUDICE

Pursuant to Rule 4l(a)(l) of the Federal Rules of Civil Procedure, Plaintiff

Tonya Bishop (“Plaintift”) hereby stipulates to the dismissal With prejudice of all
claims asserted by Plaintiff in her Complaint against Det`endant NYK Logisties
(Americas) Inc. (“Defendant”) in the above-styled action. Except as otherwise

provided for in the parties’ confidential settlement agreement, the parties shall bear

their own costs and attorneys’ fees.

Thle document entered on the docket sh

get in compliance
with Ru\e 58 and!or 79(&) FRCP on ’ 'O

Case 2:05-Cv-O2399-.]PI\/|-tmp Document 2 Filed 08/03/05 Page 2 of 3 Page|D 2

,1

, ,
STIPULATED AND AGREED this <` ,./ "‘ day of /:, .(,/L,Q"_ 2005.
L/

\_,%H;t<} @ é/;§é€/t,

Stuart B. Brd~dkstone
Tennessee Bar No. 14761
Kathy D. Baker

Tennessee Bar No. 023485

8 South Third Street, ¢I»th Floor
Memphis, Tennessee 38103
901 .522.0052

Attorneys for Plaintiff

PURSUANT TO THE FOREGOING STIPULATION, DISMISSAL

WITH PREJUDICE IS ENTERED THIS §§ DAY OF A\A ` 2005.

__ he Ho orable Jon Phipps McCalla
\`_Judge nited States District Court

Firmwide:BOlBB§OB.l 048134.1003

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02399 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

Stuart B. Breakstone
8 South Third

4th Floor

l\/lemphis7 TN 38 l 03

Kathy D. Baker

8 South Third

4th Floor

l\/lemphis7 TN 38 l 03

Honorable .l on McCalla
US DISTRICT COURT

